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WESTERN DISTRICT oF TENNESSEE /

WESTERN DIVISION pm BYM__%) m

TIGINSURANCE CoMPANY, ) 05 JUN _5 m 7, 52
)

Plaintiff, ) Case No. 2:04cv2666-B/V :-Eca;;rt tH. Z)i Tm|ii
v ) ctssi< u s orsr. cr

' ) .Or TN Pv'lE?\;’?"r` Hf.‘:`>
MERRYLAND CHILD CARE AND )
DEVELOPMENT CENTER,. a/k/a )

MERRYLAND KINDERGARTEN, INC. )
a/k/a MERRYLAND KINDERGARTEN )
AND DAY CARE CENTER, INC.; et al., )

)
Defendants. )

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on June 6, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Ivan L. Ward pursuant to FRCP 55(a).

On September 15, 2004, this Court filed the summons returned executed to Ivan L. Ward as
executed on August 30 , 2004. Defendarlt had twenty days within which to answer or otherwise
plead. Defendant Ivan L. Ward has failed to plead or otherwise defend as provided by the Federal
Rules of Civil Procedure.

In compliance With Rule 55(a), FRCP., plaintiff’s motion for entry of default against the
above-named defendant is GRANTED. ln accordance to Rule 5 5(0) for good cause shown, the court
may set aside an entry of default.

Entered this 6th day of June, 2005.

ROBERT R DI TROLIO

Cler Court
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UNIED TATES DlSTRlCT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CV-02666 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

